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                               EXHIBIT 
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     1           IN THE UNITED STATES DISTRICT COURT
     2             FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4
     5
          IN RE NATIONAL PRESCRIPTION         | Case No. 17-MD-2804
     6                                        |
          OPIATE LITIGATION                   | Hon. Dan A. Polster
     7                                        |
          APPLIES TO ALL CASES                |
     8
     9                              - - -
    10                Thursday, November 15, 2018
    11                              - - -
    12
                HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    13
                          CONFIDENTIALITY REVIEW
    14
                                    - - -
    15
    16
    17
                Videotaped deposition of JEFF ABERNATHY,
    18    held at the offices of Mitchell Williams,
          4206 South J.B. Hunt Drive, Suite 200, Rogers,
    19    Arkansas, commencing at 9:37 a.m., on the above
          date, before Susan D. Wasilewski, Registered
    20    Professional Reporter, Certified Realtime
          Reporter and Certified Realtime Captioner.
    21
    22
    23                              - - -
    24                  GOLKOW LITIGATION SERVICES
                 877.370.3377 ph | 917.591.5672 fax
    25                        deps@golkow.com

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    15         Q.    Sir, were you aware in 2007, that Walmart,

    16     as a distributor of controlled substances, had an

    17     obligation to monitor for suspicious orders?

    18         A.    I wouldn't -- I don't know that I was aware

    19     of an obligation.       We did -- we did monitor for --

    20     we did monitor orders, so --

    21         Q.    Can you be more specific when you say "we

    22     did monitor orders"?

    23         A.    I mean, we -- we would print 222 forms every

    24     day in this time frame.        So we would pull those 222

    25     forms for however many stores we needed that day,

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     1     and we would print those 222 forms.           And the ladies

     2     who were physically printing those forms, they

     3     looked at those orders; and if they saw something

     4     that maybe looked like it was kind of high, just




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    23         A.    So the picking folks were responsible for

    24     filling the order that came to them, yes.

    25         Q.    And Walmart, in 2010, had a policy in place

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     1     where the folks who were responsible for picking the

     2     orders would also report to you if they saw anything

     3     suspicious?

     4         A.    I can't say that there was a policy stating

     5     that.    They -- they would just do that.




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     6               So during this time period in 2012, let's

     7     say an order for oxy 5 milligram comes in on a

     8     Monday for 51 bottles.        Okay?

     9         A.    For which drug?

    10         Q.    Oxy 5 milligrams.

    11         A.    Okay.

    12         Q.    Okay?    You're supposed to have a process in

    13     place, right, where you look at orders over 50,

    14     correct?

    15         A.    Yes.

    16         Q.    Okay.    And what was the expectation as to --

    17     with respect to when that order would be filled and

    18     shipped, if the order came in on a Monday?

    19         A.    So Monday morning, typically when Jimmie

    20     came in, since he was the first one in, before we

    21     started the pick process, he would pull all of those

    22     orders and export it to a spreadsheet and then we

    23     would, you know, sort those to show me orders or in

    24     the order column, show me everything over 50, show

    25     me all the oxy's over 30, and we would filter it out

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     1     that way so that we could see here is all of my

     2     oxy-30s that were over 20 and here's all the other

     3     drugs that were over 50.

     4         Q.    And if another dosage of oxycodone was over

     5     50, what would you do?

     6               MR. MAZZA:     Object; form.

     7         Q.    I'll strike that.

     8               If another order came in for another dosage

     9     of oxycodone that was not oxy-30s, it was oxy-10s or

    10     oxy-5s, that was over 50 bottles -- we're talking

    11     bottles, correct?

    12         A.    Yes.

    13         Q.    Okay.    What would you do?

    14         A.    So I guess I don't understand when you say

    15     "another order."      Like the next store in line?

    16         Q.    Well, let's -- let's take a step back.           All

    17     right.

    18         A.    Okay.

    19         Q.    Go back to my first example, right.           A store

    20     orders 51 bottles of oxy-5 milligrams on Monday.

    21         A.    Okay.

    22         Q.    The order comes in on Monday.         You get your

    23     printout of that order.        Then what happens?

    24         A.    So then we would send that over to the team,

    25     the teams I spelled out, and we would say, "This

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     1     store for this product ordered 51 bottles."

     2         Q.    And from your perspective, what would happen

     3     next?

     4         A.    Then we would wait.       If they would send us

     5     back whatever communication or if we needed to do

     6     something with the order, we would just wait for

     7     that.

     8         Q.    And how would they inform you of what to do

     9     with the order?

    10         A.    E-mail.

    11         Q.    And that's what happened on a daily basis,

    12     correct?

    13         A.    Yes, sir.

    14         Q.    During this time period, when would you have

    15     expected to hear back from them regarding what to do

    16     with the order?

    17         A.    So we shipped every day at 3:00 p.m.           I mean

    18     we had had discussion, that's the -- that's the time

    19     we ship.     They had known that.       So if we didn't hear

    20     anything back by 3:00 p.m., then we went ahead and

    21     shipped the item.




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     24         A.    Yes, sir.

     25         Q.    Okay.   And at this point in the day, at

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      1     9:38 a.m., had he already reviewed that day's

      2     orders?

      3         A.    Yes, sir.

      4         Q.    And he had decided to cut some orders,

      5     correct?

      6         A.    Yes, sir.

      7         Q.    And he had decided to not cut other orders,

      8     correct?

      9         A.    Yes, sir.

     10         Q.    Okay.    Had he -- had -- strike that.

     11               For the orders that he decided to cut, what

     12     would be the basis for that decision?

     13               MR. MAZZA:     Object; foundation.

     14         A.    I -- I don't know.       I mean --

     15         Q.    Well, sir, you also had -- this was also

     16     your responsibility at the time period, correct?

     17         A.    It was my responsibility if I came in first

     18     that day.

     19         Q.    Right.    So what was the criteria for

     20     cutting?

     21         A.    If anything over 20 bottles of oxycodone-30,

     22     cut it to 20.




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     24         A.    For the time period that we were doing the

     25     Over 20 Report?

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      1         Q.    Right.

      2         A.    We would be the ones cutting them at the DC.

      3         Q.    And someone --

      4         A.    If we were instructed to do that.

      5         Q.    Right.

      6               And how would -- how would -- how would of

      7     those -- those instructions come to you, via e-mail

      8     or telephone?

      9         A.    E-mail.

     10         Q.    Do you recall an instance -- any instance

     11     where you got an e-mail to cut an order?

     12         A.    I don't remember any given instance to --

     13     that we did that.

     14         Q.    Do you remember that ever happening in this

     15     four- to five-year time frame?

     16         A.    In this time frame for the Over 20 Report, I

     17     don't remember -- I don't remember me getting any

     18     kind of a phone call or an e-mail to cut an order.

     19         Q.    So you guys were running these reports daily

     20     for four to five years, and you never recall

     21     receiving any direction to cut an order; is that

     22     correct?

     23         A.    I don't remember -- I don't remember getting




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      1         Q.    Are you familiar with any time period, based

      2     on your experience at 6045, when an order that

      3     showed up on an Over 20 Report had to wait four days

      4     before it was shipped?

      5         A.    For the Over 20 Report, I don't ever

      6     remember holding an order during the time frame we

      7     were using that report.




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     14         Q.    Did you report those orders to the DEA?

     15         A.    I did not.




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     14               MR. MAZZA:     Let's take that break before we

     15         do the next document.

     16               MR. BOWER:     Can we just do -- I mean, we're

     17         taking a lot of breaks.

     18               MR. MAZZA:     We've got one hour to go, so --

     19         actually, now we have less than an hour to go.

     20         And so I thought we'd take a break now and then

     21         finish the hour.      So let's take a break before we

     22         do that document.

     23               MR. BOWER:     I don't know if it's -- we can

     24         go off the record.

     25               THE VIDEOGRAPHER:      Going off the record, the

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      1         time is 5:20.

      2              (Recess from 5:20 p.m. until 5:34 p.m.)

      3               THE VIDEOGRAPHER:      We're going back on the

      4         record, beginning of Media File Number 7.            The

      5         time is 5:34.

      6               (Abernathy Exhibit 25 was marked for

      7     identification.)




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     18         Q.    Walmart had -- was doing business with

     19     McKesson at the time, right?         Its pharmacies were

     20     ordering from McKesson, right?

     21         A.    Yes, sir.




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      2         Q.    In deciding whether to cut an order, you

      3     never determined whether a pharmacy may have ordered

      4     that same product from McKesson, did you?

      5         A.    No, sir.

      6         Q.    And you never determined whether -- you

      7     never considered whether that pharmacy may have

      8     ordered that product from AmerisourceBergen, did

      9     you?

     10         A.    No, sir.




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      1               MR. BOWER:     All right.    Let's go off the

      2         record for a minute.

      3               THE VIDEOGRAPHER:      Going off the record.

      4         The time is 5:52.

      5              (Recess from 5:52 p.m. until 5:57 p.m.)

      6               THE VIDEOGRAPHER:      We're back on record, the

      7         beginning of Media File Number 8.          The time is

      8         5:57.

      9               (Abernathy Exhibit 28 was marked for

     10     identification.)




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